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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEBRASKA

                                                                         )
In re:                                                                   ) Chapter 11
                                                                         )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,1                           ) Case No. 19-80064 (TLS)
                                                                         )
                          Debtors.                                       ) (Jointly Administered)
                                                                         )
                                                                         )

 NOTICE OF CONTINUANCE OF CONFIRMATION HEARING DATE AND HEARING
 ON SURCHARGE MOTION, STANDING MOTION, DUCERA MOTION, MOTION TO
                   SEAL, AND RELATED DEADLINES

         PLEASE TAKE NOTICE that on March 20, 2019, the United States Bankruptcy Court

for the District of Nebraska (the “Court”) entered an order (the “Confirmation Procedures Order”)

(Docket No. 702) in the above-referenced chapter 11 cases of Specialty Retail Shops Holding

Corp. and its affiliated debtors (collectively, the “Debtors”), granting the Debtors’ Motion for

Continuance of Confirmation Hearing Date; Hearings on Debtors’ Motion to Surcharge

Collateral; the Official Unsecured Creditor’s Committee’s Motion to Clarify the Order Approving

Ducera’s Employment; and Motion Authorizing the Committee to Prosecute Certain Claims on

Behalf of the Estates, and Request for Approval of Form of Notice of Deadlines Associated

Therewith (the “Motion”) (Docket No. 701).




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
    Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
    R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
    Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
    LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
    (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
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       PLEASE TAKE FURTHER NOTICE that the Confirmation Hearing Date has been

continued to April 18, 2019 at 10:00 a.m. and will be held at the Roman L. Hruska Courthouse

111 South 18th Plaza, Courtroom #8, 2nd Floor, Omaha, Nebraska 68102.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Motion and the Confirmation

Procedures Order, the following dates and deadlines have been set concerning the confirmation of

the Second Amended Joint Chapter 11 Plan of Specialty Retail Shops Holding Corp. and Its Debtor

Affiliates (Docket No. 570) (the “Plan”):

                               Event                            Proposed Revised Date
        Resolution Event (as defined in the Disclosure        April 5, 2019
        Statement Order)
        Plan Objection Deadline                               April 5, 2019 at 5 PM CDT
        Deadline to file objections to the Debtors’           April 5, 2019 at 5 PM CDT
        proposed assumption, rejection, and/or cure
        amounts for Executory Contracts and Unexpired
        Leases
        Voting Deadline                                       April 5, 2019 at 5 PM CDT
        Deadline to File Confirmation Brief                   April 17, 2019 at 12 PM CDT
        Plan Objection Response Deadline                      April 17, 2019 at 12 PM CDT
        Deadline to File Voting Report                        April 17, 2019 at 12 PM CDT
        Confirmation Hearing                                  April 18, 2019 at 10 AM
                                                              CDT


For further information concerning how to participate in the hearing on confirmation of the Plan

or the requirements for voting or filing any objections to confirmation of the Debtors’ Plan, please

refer to the Order (I) Approving the Adequacy of the Disclosure Statement, (II) Approving the

Solicitation and Notice Procedures with Respect to Confirmation of the Debtors’ Proposed Joint

Chapter 11 Plan, (III) Approving the Forms of Ballots and Notices in Connection Therewith, (IV)

Scheduling Certain Dates with Respect Thereto, and (V) Granting Related Relief (Doc. 572) (the

“Disclosure Statement Order”), which remains in full force and effect, except as modified by the

Confirmation Procedures Order.


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       PLEASE TAKE FURTHER NOTICE that the hearing on the Debtors’ Motion for an

Order (I) Authorizing the Debtors to Surcharge Certain Collateral, (II) Allowing the Lenders’

Secured Claim in an Amount that Accounts for the Surcharge, and (III) Granting Related Relief

(Docket No. 656) (the “Surcharge Motion”) has been continued to April 18, 2019 at 10:00 a.m.

Any objection, resistance, or request for hearing with respect to the Surcharge Motion must be

filed on or before April 5, 2019 at 5 PM CDT with United States Bankruptcy Court, for the

District of Nebraska, Roman L. Hruska Courthouse, 111 South 18th Plaza, Suite 1125, Omaha,

Nebraska 68102 and served on (i) counsel to the Debtors, Kirkland & Ellis LLP, 300 North

LaSalle, Chicago, Illinois 60654, Attn: Travis Bayer, and Kirkland & Ellis LLP, 601 Lexington

Avenue, New York, New York 10022, Attn: Steven Serajeddini; (ii) co-counsel to the Debtors,

McGrath North Mullin & Kratz, P.C. LLO, 1601 Dodge St., Omaha, Nebraska 68102, Attn: James

Niemeier, Esq. (iii) the U.S. Trustee, and (iv) any other entity designated by the Bankruptcy Court.

For further information concerning how to participate in the hearing on the Surcharge Motion or

the requirements for filing any objections thereto, please refer to the Amended Notice of Filing and

Notice Setting Objection/Resistance Deadline and Hearing Regarding Debtors’ Motion for an

Order (I) Authorizing the Debtors to Surcharge Certain Collateral, (II) Allowing the Lenders’

Secured Claim in an Amount that Accounts for the Surcharge, and (III) Granting Related Relief

(Docket No. 665).

       PLEASE TAKE FURTHER NOTICE that the hearing on the Motion of the Official

Committee of Unsecured Creditors for Entry of an Order Authorizing the Committee to Prosecute

Certain Claims on Behalf of the Bankruptcy Estates and Granting Related Relief (Docket No.

641) (the “Standing Motion”), Motion for Entry of an Order Authorizing the Official Committee

of Unsecured Creditors to File Under Seal Certain Exhibits to the Committee’s Motion for Entry



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of an Order Authorizing the Committee to Prosecute Certain Claims on Behalf of the Bankruptcy

Estates (Docket No. 640) (the “Motion to Seal”), and Motion of Official Committee of Unsecured

Creditors for Reconsideration of Order Granting Application to Employ Ducera Partners, LLC,

as Financial Advisors to Special Committee of Independent Directors (Docket No. 447) (the

“Ducera Motion”), has been continued to April 18, 2019 at 10:00 a.m. Any objection, resistance,

or request for hearing with respect to the Standing Motion, Motion to Seal, and the Ducera Motion

must be filed on or before April 12, 2019 at 5 PM CDT with United States Bankruptcy Court, for

the District of Nebraska, Roman L. Hruska Courthouse, 111 South 18th Plaza, Suite 1125, Omaha,

Nebraska 68102 and served on the attorneys for the Official Committee of Unsecured Creditors

via the Goosmann Law Firm, P.C., Attn: Elizabeth M. Lally, The Advent Building, 17838 Burke

Street, Suite 250 Omaha, NE 68118 and Pachulski Stang Ziehl & Jones LLP, Attn. Robert J.

Feinstein or Bradford J. Sandler, 780 Third Avenue, 34th Floor, New York, NY 10017; (b) the

U.S. Trustee; and (c) any other entity designated by the Bankruptcy Court. For further information

concerning how to participate in the hearing on the Standing Motion, the Motion to Seal, and the

Ducera Motion, or the requirements for filing any objections thereto, please refer to the 9013-1

Notice Setting Objection/Resistance Deadline and Hearing with Certificate of Service Regarding

(I) Motion of the Official Committee of Unsecured Creditors ofr Entry of an Order Authorizing

the Committee to Prosecute Certain Claims of Behalf of the Bankruptcy Estates; (II) Motion for

Entry of an Order Authorizing the Official Committee of Unsecured Creditors to File Under Seal

Certain Exhibits to the Committee’s Motion for Entry of an Order Authorizing the Committee to

Prosecute Certain Claims on Behalf of the Bankruptcy Estates, and (III) Motion to Reconsider

filed by Official Unsecured Creditors’ Committee and Objections Thereto (Docket No. 654).




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Dated: March 20, 2019             /s/ Lauren R. Goodman
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                                  Michael T. Eversden (NE Bar No. 21941)
                                  Lauren R. Goodman (NE Bar No. 24645)
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                                  Co-Counsel to the Debtors




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